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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.1:21-CV-23727-DPG

   LIL' JOE RECORDS, INC.,

        Plaintiff,

  V.

  RAVEN ROSS, CHRISTOPHER WONG
  WON, JR., RODERICK WONG WON,
  LETERIUS RAY, ANISSA WONG WON
  AND LUTHER CAMPBELL,

        Defendants.

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                         COURT'S JURY INSTRUCTIONS




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                                            Introduction

         Members of the jury:

         It's my duty to instruct you on the rules of law that you must use in deciding this case.

         When I have finished, you will go to the jury room and begin your discussions, sometimes

  called deliberations.




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                   The Duty to Follow Instructions - Corporate Party Involved

         Your decision must be based only on the evidence presented here. You must not be

  influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it       even if you do not agree with the law - and you

  must follow all of my instructions as a whole. You must not single out or disregard any of the

  instructions on the law.

         The fact that a corporation is involved as a party must not affect your decision in any way.

  A corporation and all other persons stand equal before the law and must be dealt with as equals in

  a comt of justice. When a corporation is involved, of comse, it may act only through people as its

  employees; and, in general, a corporation is responsible under the law for the acts and statements

  of its employees that are made within the scope of their duties as employees of the company.




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  Consideration of Direct and Circumstantial Evidence; Argument of Counsel; Comments by
                                         the Court

         As I said before, you must consider only the evidence that I have admitted in the case.

  Evidence includes the testimony of witnesses and the exhibits admitted. But anything the lawyers

  say is not evidence and isn't binding on you.

         You shouldn't assume from anything I've said that I have any opinion about any factual

  issue in this case. Except for my instructions to you on the law, you should disregard anything I

  may have said during the trial in arriving at your own decision about the facts.

         Your own recollection and interpretation of the evidence is what matters.

         In considering the evidence, you may use reasoning and common sense to make deductions

  and reach conclusions. You shouldn't be concerned about whether the evidence is direct or

  circumstantial.

         "Direct evidence" is the testimony of a person who asserts that he or she has actual

 knowledge of a fact, such as an eyewitness.

         "Circumstantial evidence" is proof of a chain of facts and circumstances that tend to prove

  or disprove a fact. There's no legal difference in the weight you may give to either direct or

  circumstantial evidence.




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                                          Credibility of Witnesses

         When I say you must consider all the evidence, I don't mean that you must accept all the

  evidence as true or accurate. You should decide whether you believe what each witness had to say,

  and how important that testimony was. In making that decision you may believe or disbelieve any

 witness, in whole or in part. The number of witnesses testifying concerning a particular point

 doesn't necessarily matter.

         To decide whether you believe any witness I suggest that you ask yourself a few questions:


         1. Did the witness impress you as one who was telling the truth?

         2. Did the witness have any particular reason not to tell the truth?

         3. Did the witness have a personal interest in the outcome of the case?

         4. Did the witness seem to have a good mem01y?

         5. Did the witness have the opportunity and ability to accurately observe the things
             he or she testified about?

         6. Did the witness appear to understand the questions clearly and answer them
             directly?

         7. Did the witness's testimony differ from other testimony or other evidence?




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                  Impeachment of Witnesses Because of Inconsistent Statements

          You should also ask yourself whether there was evidence that a witness testified falsely

  about an important fact. And ask whether there was evidence that at some other time a witness

  said or did something, or didn't say or do something, that was different from the testimony the

  witness gave during this trial.

         But keep in mind that a simple mistake doesn't mean a witness wasn't telling the truth as

  he or she remembers it. People naturally tend to forget some things or remember them inaccurately.

  So, if a witness misstated something, you must decide whether it was because of an innocent lapse

  in memory or an intentional deception. The significance of your decision may depend on whether

  the misstatement is about an important fact or about an unimportant detail.




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                                         Use of Depositions

         A deposition is a witness's sworn testimony that is taken before the trial. During a

  deposition, the witness is under oath and swears to tell the truth, and the lawyers for each party

  may ask questions. A court reporter is present and records the questions and answers.

         The deposition of witnesses has been presented to you by video or by reading the transcript.

  Deposition testimony is entitled to the same consideration as live testimony, and you must judge

  it in the same way as if the witness was testifying in court. Do not place any significance on the

  behavior or tone of voice of any person reading the questions or answers.




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                   Responsibility for Proof - Plaintiff's Claim[s], Cross Claims,
                        Counterclaims - Preponderance of the Evidence

         In this case, it is the responsibility of the party bringing any claim to prove every essential

  part of its claims by a "preponderance of the evidence." This is sometimes called the "burden of

  proof' or the "burden of persuasion."

         A "preponderance of the evidence" simply means an amount of evidence that is enough to

  persuade you that the party's claim is more likely true than not true.

         If the proof fails to establish any essential part of a claim or contention by a preponderance

  of the evidence, you should find against the party making that claim or contention.

         When more than one claim is involved, you should consider each claim separately.

         In deciding whether any fact has been proved by a preponderance of the evidence, you may

  consider the testimony of all of the witnesses, regardless of who may have called them, and all of

  the exhibits received in evidence, regardless of who may have produced them.

         If the proof fails to establish any essential part of a party's cl.aims by a preponderance of

 the evidence, you should find for the party against whom the claim was asserted as to that claim.




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             Responsibility for Proof - Affirmative Defense Preponderance of the Evidence

         In this case, there are cross-claims. Even if one party bringing the claim proves their

  claim[s] by a preponderance of the evidence, the other can prevail in this case if they prove an

  affirmative defense by a preponderance of the evidence.

         I caution you that the party challenging a claim does not have to disprove the claim[s], but

  if that party raises an affirmative defense, the only way it can prevail on that specific defense is if

  the party proves that defense by a preponderance of the evidence.




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                                       Overview of Copyrights

         This case involves a dispute relating to copyrights. To help you understand the evidence in

  this case, I will explain some of the legal concepts and terms you may have heard during the trial.

          Copyright law reflects a balance between society's interest in encouraging the creation of

  original works by rewarding authors on the one hand, and society's competing interest in the free

  flow of ideas and information on the other hand. The goal of copyright law attempts to strike a

  balance between protecting an author's particular expression, while also protecting the right of

  others to use the same concepts, ideas, or facts.

         Copyright protects original works of authorship that are expressed in a form that can be

  perceived, reproduced, or communicated.

         Works of authorship can include litera1y works, musical works, dramatic works,

  pantomimes, choreographic works, pictorial works, graphic works, sculptural works, motion

  pictures, audiovisual works, sound recordings, or architectural works.

         Copyright protection, however, does not extend to any idea, procedure, process, system,

  method of operation, concept, principle, or discoveiy, regardless of the form in which it is

  described, explained, illustrated, or embodied in the work.

         To qualify for copyright protection, a work must be original to the author. Original, as the

  te1m is used in copyright, means only that the work was independently created by the author (as

  opposed to copied from other works) and that it possesses at least some minimal degree of

  creativity. A work may be original even though it closely resembles other works so long as the

  similarity is not the result of copying. To illustrate, assume that two poets, each unaware of the

  other, compose identical poems. Both poems may be considered original.

         The owner of a copyright has the exclusive right to reproduce, or copy, distribute copies



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  of, and prepare derivative works based on the copyrighted work for a specific period of time.




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                                 Copyright - Ownership - General Charge

         2 Live Crew must prove ownership of a copyright in the albums by a preponderance of the

  evidence. Defendants can prove ownership by evidence showing that 2 Live Crew members were

  the authors of the albums at issue.




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                              Copyright- Ownership- Work Made for Hire

         Lil' Joe claims that the albums at issue were created by the members of 2 Live Crew as

  works made for hire. If the works were made for hire, Luke/Skyywalker Records is considered the

  author and the copyright's original owner. To prove ownership of a work for hire, Lil' Joe must

  prove the following:

         That Luke/Skyywalker Record's employees Luther Campbell, and/or Christopher Wong

  Won, and/or Mark Ross created the albums at issue within the scope of the employees'

  employment.

         If the employment status of the individual who created the work is disputed, you should

  consider the following factors to determine whether the creator was a Luke/Skyywalker Record's

  employee or an independent contractor when the albums at issue were created:

             •   Luke/Skyywalker Records' right to control the way the work was accomplished.

                 The less control Luke/Skyywalker Records exercised, the more likely it is that the

                 creator was an independent contractor.

             •   The skill required to create the work. The more skills required of the creator, the

                 more likely it is that the creator was an independent contractor.

             •   The source of the instruments and tools. The more the. creator was required to use

                 his or her own tools and instruments to create the work, the more likely it is that the

                 creator was an independent contractor.

             •   The location of the work. The more the creator worked at Luke/Skyywalker

                 Records' offices, the more likely it is that the creator was an employee.

             •   The duration of the relationship between the patiies. The longer the creator worked

                 for Luke/Skyywalker Records the more likely it is that the creator was an employee.


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           •   Whether Luke/Skyywalker Records has the right to assign additional projects to the

               creator. The more ability the creator had to refuse additional work from

               Luke/Skyywalker Records, the more likely it is that the creator was an independent

               contractor.

           •   The extent of the creator's discretion over when and how long to work. The more

               control the creator had over his or her working schedule, the more likely it is that

               the creator was an independent contractor.

           •   The method of payment. The more the creator worked for one-time project fees or

               on commission, the more likely it is that the creator was an independent contractor.

           •   The creator's role in hiring and paying assistants. The more the creator hired and

               paid for his or her own assistants, the more likely it is that the creator was an

               independent contractor.

           •   Whether the work is part of Luke/Skyywalker Records' regular business. The more

               the creation of the work was a regular part ofLuke/Skyywalker Records' business,

               the more likely it is that the creator was an employee.

           •   Whether Luke/Skyywalker Records is a business. If Luke/Skyywalker Records was

               not a business, the creator was more likely an independent contractor.

           •   The provision of employee benefits. The more the creator participated in benefit

               plans Luke/Skyywalker Records provided (such as pensions or insurance), the more

               likely it is that the creator was an employee.

           •   The creator's tax treatment. If Luke/Skyywalker Records didn't withhold taxes

               from payments to the creator or didn't issue a Form 1099 to the creator, the creator

               was more likely an independent contractor.


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  No single factor should be considered conclusive on its own. And some factors may not apply to

  the circumstances in this case.




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                               Copyright - Ownership - Transfer

         A transfer of copyright ownership, other than by operation of law, must be in writing and

  signed by the owner of the copyright or the owner's authorized agent. The writing may be an

  instrument of conveyance, such as a contract or assignment, or a note of memorandum of the

  transfer. Oral agreements may later be confirmed or memorialized in writing.




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                17 U.S.C. § 203 - Termination of transfers and licenses granted by the author

             Other than a work for hire, a transfer of a copyright may be terminated by the authors after

  thirty-five years pursuant to a written termination notice. For a termination notice to be legally

  compliant, it must show the signatures from a majority of the grantors or their heirs and specifically

  list all works.

             The termination notice must include the date when the original transfer of rights was

  executed and a brief statement reasonably identifying the grant to which the notice of termination

  applies.

          If there is an error in the notice of termination, the notice is invalid unless the error does

  not materially affect the adequacy of the information required.

          An error is material if it fails to give the assignee a reasonable opportunity to identify the

  affected grant of rights from the information given in the notice.




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                                          Duty to Deliberate

         Your verdict must be unanimous - in other words, you must all agree. Your deliberations

  are secret, and you'll never have to explain your verdict to anyone.

         Each of you must decide the case for yourself, but only after fully considering the evidence

  with the other jurors. So, you must discuss the case with one another and try to reach an agreement.

  While you're discussing the case, don't hesitate to reexamine your own opinion and change your

  mind if you become convinced that you were wrong. But don't give up your honest beliefs just

  because others think differently or because you simply want to get the case over with.

         Remember that, in a very real way, you're judges - judges of the facts. Your only interest

  is to seek the truth from the evidence in the case.




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                                             Verdict Form

          When you get to the jury room, choose one of your members to act as foreperson. The

  foreperson will direct your deliberations and speak for you in comi.

         A verdict form has been prepared for your convenience.

                                            [Explain verdict]

         Take the verdict form with you to the jmy room. When you've all agreed on the verdict,

  your foreperson must fill in the form, sign it and date it. Then you'll return it to the courtroom.

         If you wish to communicate with me at any time, please write down your message or

  question and give it to the court security officer. The court security officer will bring it to me, and

  I'll respond as promptly as possible- either in writing or by talking to you in the courtroom. Please

  understand that I may have to talk to the lawyers and the parties before I respond to your question

  or message, so you should be patient as you await my response. But I caution you not to tell me

  how many jurors have voted one way or the other at that time. That type of information should

  remain in the jmy room and not be shared with anyone, including me, in your note or question.




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